Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35   Desc Main
                                     Document      Page 1 of 13



MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
(856) 910-5075 (fax)

Proposed Attorneys for the Debtors


                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY


In re:                                         :

SHAPES/ARCH HOLDINGS L.L.C.,                   :   CHAPTER 11

                 Debtor.                       :   CASE NO. 08-

                                               :

In re:                                         :   CHAPTER 11

SHAPES L.L.C.,                                 :   CASE NO. 08-

                 Debtor.                       :

                                               :

In re:                                         :   CHAPTER 11

DELAIR L.L.C.,                                 :   CASE NO. 08-

                 Debtor.                       :

                                               :

In re:                                         :   CHAPTER 11

ACCU-WELD L.L.C.,                              :   CASE NO. 08-

                 Debtor.                       :

                                               :


CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35           Desc Main
                                     Document      Page 2 of 13




In re:                                            :   CHAPTER 11

ULTRA L.L.C.,                                     :   CASE NO. 08-

                 Debtor.                          :

                                                  :

                DEBTORS’ VERIFIED MOTION FOR AN ORDER DIRECTING
              JOINT ADMINISTRATION AND PROCEDURAL CONSOLIDATION
         Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), Shapes L.L.C. (“Shapes”), Delair L.L.C.

(“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C. (“Ultra”, and with Shapes/Arch,

Shapes, Delair and Accu-Weld, collectively, the “Debtors”) hereby move (the “Motion”) before

this Court for an Order directing joint administration and procedural consolidation of their

Chapter 11 cases, pursuant to Bankruptcy Rule 1015(b), and in support thereof respectfully

represent as follows:

                                            Background

         1.      On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

Code”).

         2.      On the Petition Date, the Debtors filed various “first day” motions, including a

motion seeking to have their cases jointly administered under the lead debtor, “Shapes/Arch

Holdings L.L.C.”

         3.      The Debtors are operating their businesses and managing their properties as

debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

         4.      No trustee or examiner has been appointed in these cases. No official committee

of unsecured creditors has been appointed in these cases.



                                              2
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35          Desc Main
                                     Document      Page 3 of 13



        5.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. Venue

is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28

U.S.C. § 157(b)(2).


                             Description of Debtors and Their Businesses

        6.      Shapes/Arch is a holding company that owns each of the four operating

companies - Shapes, Delair, Accu-Weld and Ultra. The Debtors’ predecessor was established in

New Jersey in 1952 to produce aluminum windows. By 1959, the business had expanded and

began focusing on producing aluminum extrusions. The Debtors have consistently expanded

their businesses over the years by investing in new facilities and technology and by establishing

new product lines. On a consolidated basis, the Debtors’ net revenue in 2007 was $273.8

million, with Shapes generating approximately 65% of that revenue. The Debtors have over

1000 employees, approximately 70% of whom are members of either the International

Brotherhood of Teamsters Local 837, or the United Independent Union.

        7.      Shapes is the largest operating Debtor with 2007 revenue over $179 million and

over 600 employees. Shapes is a leading producer of custom aluminum extrusions for a variety

of industries, including road and rail transportation and commercial and residential construction.

Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to

create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the

necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press

capacity and because all of its casting, extruding, fabricating and finishing is completed in one

facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates

twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be

pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a

                                              3
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35            Desc Main
                                     Document      Page 4 of 13



variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of

extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World

Records” for the largest free standing aluminum structure ever created in connection with the

restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in

connection with the restoration of the Washington Monument.

        8.       In 2007 Shapes’ revenues decreased by approximately $35 million compared to

2006. This decrease is, at least in part, attributable to the fact that 65% of Shapes’ sales are to

the trailer, truck body and railcar sectors, all of which have been experiencing an economic

downturn.

        9.       Delair manufactures maintenance free aluminum fence systems for residential

and commercial use, and manufactures America’s most recognized brand of above-ground pools.

Both product lines are sold through dealers, distributors and major retailers throughout the

United States.

        10.      Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,

New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair

purchases approximately 70% of its product line from Shapes.

        11.      Because Delair’s sales are largely tied to consumer spending and the housing

market, Delair has suffered with that sector of the economy and its 2007 revenues were $5.5

million less than in 2006.

        12.      Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl

replacement windows and steel doors. Accu-Weld’s products are sold to installers, dealers and

home improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United

States. Accu-Weld operates out of a 100,000 square foot facility in Bensalem, Pennsylvania.

                                              4
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35          Desc Main
                                     Document      Page 5 of 13



Unlike many of its competitors, Accu-Weld extrudes its own vinyl profiles, which results in

faster production and delivery to the customer.

        13.     Accu-Weld’s net revenues in 2007 were $24.9 million, down from $37 million in

2006. The loss of revenue is due principally to Accu-Weld ceasing to do business with certain

customers that were not profitable or which presented significant, unjustifiable credit risk and the

general decline of the housing market.

        14.     Ultra is one of the leading suppliers of value branded hardware products in the

United States, including locksets, door and window hardware and other decorative hardware.

Ultra has over 8,000 products sourced primarily from China. Ultra’s products are sold to home

improvement and hardware retailers, hardware cooperatives and distributors, home builders and

window and door manufacturers.

        15.     Ultra operates from a 75,000 square foot distribution facility in Pennsauken, New

Jersey, with two million cubic feet of storage space.

        16.     Ultra’s EBITDA decreased by $2.2 million due primarily to sales of hardware to

lower margin accounts and the rapid escalation of product costs from China that could not be

passed on to Ultra’s customers.


                                          The Bank Debt

        17.     Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers

and co-guarantors) became indebted to a lender group consisting of The CIT Group/Business

Credit, Inc. (“CIT”), as agent, and Bank One, National Association (“Bank One”) pursuant to a

financing agreement, dated December 30, 2003 (as amended from time to time, the “Financing

Agreement”). The current members of the lender group are CIT, as agent, JPMorgan Chase



                                             5
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35            Desc Main
                                     Document      Page 6 of 13



Bank N.A. (successor to Bank One) (“JP Morgan”) and Textron Corporation (the “Lender

Group”).

        18.     Pursuant to the Financing Agreement, the Lender Group provided financing in the

form of revolving loans (based upon a percentage of eligible inventory and accounts receivable),

term loan, and letters of credit. The Financing Agreement has been amended on fifteen

occasions, most recently on or about March 6, 2008, principally to address the needs of the

Debtors to borrow funds in excess of what was available based upon their eligible inventory and

accounts in light of the cyclical nature of the Debtors’ businesses. The fifteenth amendment

enables the Debtors to borrow up to $4.4 million beyond its available borrowing base (the

“PP&E Equity Borrowing Base Component”), and requires that the Debtors re-pay the PP&E

Equity Borrowing Base Component on or before March 14, 2008.

        19.     The Financing Agreement currently provides for a maximum total credit facility

of $75.7 million, and a maximum line of credit of $67 million. Shapes/Arch and its parent, Ben

LLC, are guarantors of the debt to the Lender Group. The Lender Group has a first priority lien

on and security interest in substantially all of the Debtors’ assets, including, without limitation,

all accounts receivable, inventory, machinery and equipment and real property, and the proceeds

thereof.

        20.     As of the Petition Date, the outstanding borrowings from the Lender Group are as

follows: (i) revolving loans totaling approximately $47.72 million (inclusive of the PP&E

Equity Borrowing Base Component); (ii) term loans totaling approximately $8.35 million; and

(iii) letters of credit totaling approximately $3.55 million for an aggregate indebtedness to the

Lender Group in the amount of $59.62 million (the “Bank Debt”).




                                              6
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35            Desc Main
                                     Document      Page 7 of 13



                                         Reasons for Filing

        21.     The Debtors’ Chapter 11 filings were precipitated by a number of factors. The

principal factor leading to the Debtors’ filings is that the economic sectors in which the Debtors

operate have experienced a downturn, which decline has affected the Debtors’ revenues and

EBITDA beginning in late 2006 and continuing through the first quarter of 2008. The Debtors’

revenue decreased by about fifteen percent (15%) from $322 million in 2006 to $274 million in

2007, with projected revenue in 2008 of $262 million. The Debtors’ EBITDA plummeted from

about $21 million in 2006 to about $3.7 million in 2007. The Debtors have been unable to

remain current with creditors, in particular, utilities and major suppliers, because of this

downturn.

        22.     With the contraction in purchases by the Debtors’ customer base and the Debtors’

overhead remaining largely static, the Debtors have been struggling to fund their operations

under their existing lending arrangement and find themselves in a situation in which they can not

repay the PP&E Borrowing Base Component or pay past due obligations to venders in excess of

$15 million.

        23.     Over the course of the past four months, the Lender Group has worked with the

Debtors to attempt to find a solution. In late 2007, CIT Capital Securities LLC, an affiliate of the

agent for the Lender Group, was engaged to attempt to obtain additional financing for the

business. Despite their efforts, they were unable to identify any lender willing to provide

additional, subordinated, financing to the Debtors or to refinance the Bank Debt.

        24.     More recently, the Debtors have explored a possible sale/leaseback transaction

with certain third parties. The Debtors, however, were not successful in negotiating a transaction

that would adequately address the Debtors’ needs going forward.


                                              7
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35           Desc Main
                                     Document      Page 8 of 13



        25.     The Debtors also explored potential sale opportunities with existing management

and third parties, but elected not to pursue these potential opportunities in favor of the Versa

transaction (described hereinbelow) because the Versa transaction presents a better opportunity

to preserve the going concern and maximize a recovery for all creditor constituencies.


                                         The White Knight

        26.     With the Debtors’ need for borrowings in excess of the borrowing base provided

for in the Financing Agreement projected to increase to over $7.4 million over the next few

weeks, without factoring in any payment to restructuring professionals or to venders on the past

due trade debt, and the Lender Group’s inability and unwillingness to fund any additional

overadvance, the Debtors’ continued ability to operate was in substantial doubt without a quick

and efficient transaction.

        27.     In January, 2008, the Debtors began a dialogue with Versa Capital Management,

Inc. (“Versa”), a Philadelphia based private equity firm, to discuss Versa’s interest in a possible

transaction. Versa expressed interest and conducted extensive due diligence with respect to the

Debtors’ businesses in late January.

        28.     Also during this time frame, the Debtors retained Phoenix Management Services,

Inc. (“Phoenix”), a turnaround and crisis management firm, to (i) assist the Debtors in working

with the Lender Group; (ii) develop cash flow models to determine how severe the Debtors’

liquidity issues were and would become over the following weeks and months; and (iii) explore

the Debtors’ alternatives.

        29.     In February, Versa, the Debtors and representatives of the owners of Ben LLC

engaged in arms length negotiations which culminated in an agreement whereby Arcus ASI

Funding, LLC and Arcus ASI, Inc. (affiliates of Versa, hereinafter “Arcus”), would, among other

                                              8
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35          Desc Main
                                     Document      Page 9 of 13



things, commit to lend up to $25 million to the Debtors during the Chapter 11 proceedings (and

provide additional funding and an equity infusion to help the Debtors reorganize). As part of

that agreement, Arcus became a manager of (but not a member of) Shapes/Arch (with 79.9% of

the voting rights) and Ben LLC retained 100% of the ownership rights and 20.1% of the voting

rights. This transaction was made subject to many terms and conditions, including Versa’s

ability to reach an agreement with the Lender Group with respect to the terms and conditions of

Versa’s investment in the Debtors’ businesses as part of a plan of reorganization, as well as

obtaining the Lender Group’s commitment to provide debtor-in-possession and exit financing for

the companies. The Debtors, Versa and the Lender Group ultimately reached an agreement on

the terms and conditions upon which Arcus would provide additional financing to the Debtors

(and the PP&E Equity Borrowing Base Component would be eliminated) during any Chapter 11

process, as well as provide an exit facility for the Debtors.

        30.     In light of the available financing from the Lender Group and Versa, and the

current state of the Debtors’ businesses, the Debtors, their management, representatives of the

owners of Ben LLC, and Versa agreed that the Debtors would need to seek bankruptcy

protection in order to effectuate the transaction.

        31.     Contemporaneously with the filing of the petitions, the Debtors have filed a

debtor-in-possession financing motion and a plan and disclosure statement that provide, among

other things, for the financing of the Debtors’ operations during the Chapter 11 process, exit

financing for the Debtors upon confirmation of the Debtors’ plan of reorganization, payment of

all administrative and priority unsecured claims in full, and a dividend to holders of general

unsecured claims.




                                              9
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35           Desc Main
                                     Document     Page 10 of 13



        32.     The plan reflects a commitment by (i) the Lender Group to provide the Debtors

with revolving loans throughout the Chapter 11 proceedings and upon exiting bankruptcy in the

amount of up to $60 million all on terms and conditions more fully set forth in the applicable

documents to be executed in favor of the Revolving DIP Lenders, and (ii) Arcus to pay off the

Lender Group’s term loans, to fund the PP&E Equity Borrowing Base Component, to provide

additional working capital for the Debtors, and to fund a dividend to creditors, requiring a total

commitment by Versa of approximately $25 million.

        33.     The Debtors have worked diligently over the past several weeks in a difficult

setting toward a solution that will maximize a return for all creditor constituencies and at the

same time maximize the likelihood that the Debtors’ businesses will remain viable so that the

Debtors can continue to be one of South Jersey’s largest employers for the foreseeable future.

The Debtors believe that the plan will achieve these objectives.


                                          Relief Requested

        34.     By this Motion, the Debtors seek an order pursuant to Fed.R.Bankr.P. 1015(b)

authorizing the joint administration and procedural consolidation of their Chapter 11 cases.


                                           Basis for Relief

        35.     This Court may order the joint administration and procedural consolidation of the

estates of a debtor and an affiliate. Bankruptcy Rule 1015(b) provides in relevant part that if

“two or more petitions are pending in the same court by . . . a debtor and an affiliate, the court

may order a joint administration of the estates.”

Fed.R.Bankr.P. 1015(b).

        36.     The Debtors are affiliates as that term is defined in 11 U.S.C. § 101(2) and

employed in Bankruptcy Rule 1015(b).
                                              10
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35             Desc Main
                                     Document     Page 11 of 13



        37.     The Debtors anticipate that during the course of these cases it will be necessary to

file numerous motions and applications seeking relief on behalf of all the Debtors. Moreover, on

the Petition Date the Debtors have filed a joint plan and disclosure statement. Accordingly, the

Debtors respectfully submit that joint administration of Debtors' estates is in the best interests of

the Debtors' creditors, and will further the interests of judicial economy and administrative

expediency by, among other things, obviating the necessity of arguing similar issues multiple

times, duplicate motions, entering duplicate orders, and forwarding duplicate notices to creditors

and parties-in-interest.

        38.     The rights of the Debtors’ respective creditors will not be adversely affected by

joint administration of these cases since each creditor may still file its claim against the particular

estate which allegedly owes it money. In fact, the rights of creditors will be enhanced by the

reduction in cost resulting from joint administration and procedural consolidation. The Court

will also be relieved of the burden of considering nearly identical factual and legal issues in each

of the cases. Finally, supervision of the administrative aspects of the Chapter 11 cases by the

office of the United States Trustee will be simplified.

        39.     The Debtors do not seek substantive consolidation by this Motion.

        40.     The Debtors request that these cases be jointly administered in the name of In re

Shapes/Arch Holdings L.L.C.




                                              11
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB            Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35           Desc Main
                                     Document     Page 12 of 13



        WHEREFORE, the Debtors respectfully request that this Court enter an order directing

that these cases be jointly administered and procedurally consolidated, and granting such other

and further relief as this Court deems just and proper.

Dated: March 16, 2008                         COZEN O’CONNOR

                                              By:       /s/ Jerrold N. Poslusny, Jr.
                                                    Mark E. Felger
                                                    Jerrold N. Poslusny, Jr.

                                                    Proposed Attorneys for the Debtors




                                             12
CHERRY_HILL\429896\1 077771.000
Case 08-14631-GMB   Doc 3    Filed 03/16/08 Entered 03/16/08 21:31:35   Desc Main
                            Document     Page 13 of 13
